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            IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JAMORRIS HOPE,                          )
                                        )      Case No.:___________________
                   Plaintiff,           )
                                        )      Judge:______________________
          v.                            )
                                        )      Magistrate Judge:_____________
The CITY OF CHICAGO, a Municipal        )
Corporation and Chicago Police Officers )
VINCENT BALDASSANO #12697,              )
RYAN HEALY #9059, MATTHEW               )
STEVENS #8321, JORGE SANTOS #13673 )
JOSEPH RODRIGUEZ #7781,                 )
KRZYSZTOF KOBYLARCZYK #8705,            )      JURY TRIAL DEMANDED
JOSEPH QUINN III #15057, DANIEL         )
LENIHAN #14542, DANIEL DIAZ #10269 )
ERIC LANDORF #10816, RYAN LECLAIR )
#13565, MARK GODDARD #5070,             )
BENJAMIN SANCHEZ #9621, ESTEBAN )
TRUJILLO #11642, RONALD                 )
MALCZYNSKI #8490 and SERGEANT           )
RICHARD MAHER #1478                     )
                                        )
                   Defendants.          )

                                     COMPLAINT

      Plaintiff, JAMORRIS HOPE (“Plaintiff”), by and through his attorneys, Tony

Thedford and Torreya L. Hamilton, make the following complaint against Defendants the

CITY OF CHICAGO (“Defendant CITY”) and Chicago Police Officers VINCENT

BALDASSANO #12697, RYAN HEALY #9059, MATTHEW STEVENS #8321, JORGE

SANTOS #13673, JOSEPH RODRIGUEZ #7781, KRZYSZTOF KOBYLARCZYK #8705,

JOSEPH QUINN III #15057, DANIEL LENIHAN #14542, DANIEL DIAZ #10269, ERIC

LANDORF #10816, RYAN LECLAIR #13565, MARK GODDARD #5070, BENJAMIN

SANCHEZ #9621, ESTEBAN TRUJILLO #11642, RONALD MALCZYNSKI #8490, and
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SERGEANT RICHARD MAHER #1478 (collectively, “Defendant OFFICERS”):

                               JURISDICTION AND VENUE

1. This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation under color

of law of Plaintiff’s rights as secured by the United States Constitution and Illinois common

law.

2. This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331, 1343, and 1367.

3. Venue is proper under 28 U.S.C. § 1391(b). All parties reside in this judicial district and

the events giving rise to the claims asserted in this complaint occurred within the district.

                                           PARTIES

4. Plaintiff JAMORRIS HOPE was, at all times relevant to this complaint, a thirty six-year-

old resident of Chicago, Cook County, Illinois.

5. Defendant OFFICERS were, at all times relevant to this complaint, Chicago police

officers employed by Defendant CITY, acting within the scope of their employment and

under color of law.

6. Defendant CITY is a municipal corporation and public entity incorporated under the laws

of Illinois.

                                             FACTS

7. On October 3, 2011, Defendant Officer BALDASSANO appeared before a Cook County

judge and swore to facts upon which that judge relied in order to issue a search warrant

authorizing the search Plaintiff’s person and first floor apartment at 650 N. Laramie Avenue,

Chicago, Illinois, for a handgun, ammunition, and proof of residency.

8. Defendant Officer BALDASSANO, either knew or should have known that the


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information he presented to the judge in order to obtain this warrant was either false, or

unreliable.

9. Plaintiff has never resided at 650 N. Laramie Avenue, Chicago, Illinois, nor had any

connection with anyone who did live there.

10. Later that same night, at approximately 12:00 AM on October 4, 2011, Defendant

OFFICERS executed a different search warrant at a 24-hour used tire shop located at 4711 W.

Chicago Avenue, Chicago, Illinois. Plaintiff was an employee at the tire shop and was

working at the time Defendant OFFICERS arrived.

11. Plaintiff, who was not engaged in any illegal or otherwise suspicious activity, was

immediately seized, handcuffed, and searched by Defendant OFFICERS; the search of

Plaintiff’s person uncovered no illegal contraband or evidence of wrongdoing.

12. Defendant OFFICERS then detained Plaintiff in the back seat of a police squad car for

approximately an hour while they searched the tire shop.

13. When the search of the tire shop was completed, Defendant OFFICERS questioned

Plaintiff concerning the whereabouts of several individuals. Plaintiff told Defendant

OFFICERS that he did not know where these individuals were.

14. Defendant OFFICERS then transported Plaintiff to the building located at 650 N.

Laramie and related to Plaintiff, telling Plaintiff they were going to search his residence now,

too. Plaintiff told Defendant OFFICERS that he did not live at that address and had never

even been inside the building.

15. Defendant OFFICERS then forced their way into the residence located at 650 N. Laramie

and searched the first floor apartment. Plaintiff remained handcuffed in the back of the squad


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car during the search.

16. Defendant OFFICERS apparently recovered a rifle from the residence, but were unable to

recover any proof of Plaintiff’s residency there or any other evidence establishing that

Plaintiff resided or was ever present inside the house.

17. Defendant OFFICERS again questioned Plaintiff concerning the whereabouts of other

men, and Plaintiff again told them he had no information about the location of the

individuals.

18. Defendant OFFICERS told Plaintiff that, because he did not want to cooperate, they were

charging him with the gun that was recovered from the apartment at 650 N. Laramie.

19. Plaintiff was then taken to the police station where Defendant OFFICERS falsely charged

him with possession of the rifle.

20. Unable to post bond, Plaintiff remained in custody for eight months awaiting trial.

Plaintiff lost his job at the tire shop as a result of his prolonged detention.

21. On June 7, 2012, after a bench trial, a Cook County Circuit Court judge found Plaintiff

not guilty of all charges.

                              COUNT I – 42 U.S.C. § 1983
                Unlawful Search of Plaintiff vs. Defendant BALDASSANO

22. Each of the preceding paragraphs is incorporated as if fully restated here.

23. As more fully described above, Defendant Officer BALDASSANO knew or should have

known that the information he presented to the judge to obtain a search warrant for Plaintiff

was either false or unreliable. Thus, Defendant Officer BALDASSANO caused Plaintiff to be

searched without probable cause or any other legal justification to do so, in violation of

Plaintiff’s rights under the Fourth Amendment to the United States Constitution.

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24. As a direct and proximate result of this illegal search, Plaintiff suffered damages, including

emotional damages, which will be proven at trial.

       WHEREFORE, Plaintiff prays for judgment against Defendant Officer

BALDASSANO in a fair and just amount sufficient to compensate Plaintiff for the damages

he has suffered, plus punitive damages, as well as costs, attorney’s fees, and such other relief as

is just and equitable.

                              COUNT II – 42 U.S.C. § 1983
                     Unlawful Detention vs. Defendant BALDASSANO

25. Each of the preceding paragraphs is incorporated as if fully restated here.

26. As more fully described above, Defendant Officer BALDASSANO caused Plaintiff to be

detained on a bogus search warrant without probable cause or any other legal justification to

do so, in violation of Plaintiff’s rights under the Fourth Amendment to the United States

Constitution.

27. As a direct and proximate result of this illegal arrest, Plaintiff suffered damages, including

emotional damages, which will be proven at trial.

       WHEREFORE, Plaintiff prays for judgment against Defendant Officer

BALDASSANO in a fair and just amount sufficient to compensate Plaintiff for the damages

he has suffered, plus punitive damages, as well as costs, attorney’s fees, and such other relief as

is just and equitable.

                                COUNT III – 42 U.S.C. § 1983
                                   Unlawful Detention

28. Each of the preceding paragraphs is incorporated as if fully restated here.

29. As more fully described above, Defendant OFFICERS unreasonably continued to detain


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Plaintiff after executing the bogus search warrant to search his person and finding nothing

illegal, in violation of Plaintiff’s rights under the Fourth Amendment to the United States

Constitution.

30. As a direct and proximate result of this illegal arrest, Plaintiff suffered damages, including

emotional damages, which will be proven at trial.

       WHEREFORE, Plaintiff prays for judgment against Defendant OFFICERS in a fair

and just amount sufficient to compensate Plaintiff for the damages he has suffered, plus

punitive damages, as well as costs, attorney’s fees, and such other relief as is just and equitable.

                                COUNT IV – 42 U.S.C. § 1983
                                      False Arrest

31. Each of the preceding paragraphs is incorporated as if fully restated here.

32. As more fully described above, Defendant OFFICERS arrested Plaintiff without probable

cause to believe that he had committed any crime, in violation of Plaintiff’s rights under the

Fourth Amendment to the United States Constitution.

33. As a direct and proximate result of this illegal arrest, Plaintiff suffered damages, including

emotional damages, which will be proven at trial.

       WHEREFORE, Plaintiff prays for judgment against Defendant OFFICERS in a fair

and just amount sufficient to compensate Plaintiff for the damages he has suffered, plus

punitive damages, as well as costs, attorney’s fees, and such other relief as is just and equitable.

                       COUNT V: 42 U.S.C. § 1983 Conspiracy Claim

33. Each of the preceding paragraphs is incorporated as if fully restated here.

34. Defendant OFFICERS impliedly or expressly conspired and agreed to violate Plaintiff’s

constitutional rights as more fully described above.

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35. As a direct and proximate result of Defendant OFFICERS’ conspiracy, Plaintiff suffered

damages, including emotional damages, which will be proven at trial.

       WHEREFORE, Plaintiff prays for judgment against Defendant OFFICERS in a fair

and just amount sufficient to compensate Plaintiff for the damages he has suffered, plus

punitive damages, as well as costs, attorney’s fees, and such other relief as is just and equitable.

                           COUNT VI: Illinois Malicious Prosecution

34. Each of the preceding paragraphs is incorporated as if fully restated here.

35. As more fully described above, Defendant OFFICERS willfully and wantonly initiated

criminal proceedings against Plaintiff and/or caused the criminal proceedings to continue

against him, without probable cause to believe he had committed a crime.

36. With malice, willfulness, and/or reckless indifference to Plaintiff’s rights, Defendant

OFFICERS created, or acquiesced to, false and/or inaccurate police reports, causing him to be

prosecuted for serious felony offenses.

37. In addition, Defendant OFFICERS gave false accounts regarding their investigation to

other police officers and/or Assistant State’s Attorneys and/or fabricated evidence.

38. The criminal proceedings against Plaintiff were terminated in his favor, in a manner

indicative of innocence.

39. As a direct and proximate result of Defendant OFFICERS’ malicious prosecution,

Plaintiff suffered financial and emotional damages for having to defend against the false

charges placed against him and spend several months wrongfully imprisoned.

40. Illinois law provides that public entities, such as Defendant CITY, are directed to pay any

compensatory damages on a tort judgment against an employee who was acting within the


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scope of his or her employment.

41. At all relevant times, Defendant OFFICERS were agents of Defendant CITY, and acting

within the scope of their employment as Chicago police officers. Defendant CITY, therefore,

is liable as principal for all torts committed by Defendant OFFICERS.

       WHEREFORE, Plaintiff prays for judgment against Defendant OFFICERS and

Defendant CITY in an amount reasonable to compensate him for the damages he has suffered,

as well as such other relief as is just and equitable.

PLAINTIFF DEMANDS TRIAL BY JURY

Respectfully submitted,

JAMORRIS HOPE, Plaintiff

By: /s Torreya L. Hamilton
   One of Plaintiff’s Attorneys

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